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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHEASTERN DIVISION

United States of America,                       )
                                                )
                       Plaintiff,               )            ORDER ON DEFENDANT’S
                                                )              PRETRIAL MOTIONS
vs.                                             )
                                                )              Criminal No. 3:06-cr-14-12
Erik Lee Madrid, a/k/a Julio,                   )
                                                )
                       Defendant.               )

       Before the Court are a number of pretrial motions by Defendant (Docs. #416-422). These

motions were previously raised by Defendant and were re-raised at the request of Defendant (Doc.

#415) without additional briefing. The United States filed a response (Doc. #309) when the motions

were initially filed. Argument was heard on several of these motions during an October 30, 2006

status conference.

       Defendant’s motions with respect to Fed. R. Evid. 404(b) evidence (Doc. #418) and Bruton

issues (Doc. #417) were rendered moot by the government’s original response and are therefore

DENIED.

       Defendant’s motions for Bill of Particulars (Doc. #416), Dismissal or Severance (Doc. #419),

and Disclosure of Grand Jury Transcripts (Doc. #421) were denied on the merits by the Court’s

November 8, 2006 Order (Doc. #351) and the Court’s Continuance Order (Doc. #338). No

additional briefing has been submitted to the Court. The Court is convinced its original rulings were

not in error. Therefore, for the reasons set forth in the Court’s previous Orders, those motions are

DENIED.

       Defendant did not persist in his motion for pretrial release (Doc. #276) or his motion to

suppress (Doc. #278) during the October 30, 2006 status conference. Oral argument has not

previously been heard on these issues. Therefore, these motions will be addressed on Thursday,

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December 21, at 9:30 a.m. in Courtroom 1 in Fargo.

       IT IS SO ORDERED.

       Dated this 19th day of December, 2006.

                                               /s/ Ralph R. Erickson
                                           Ralph R. Erickson, District Judge
                                           United States District Court




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